Case 8:21-cv-01106-DOC-JDE Document 23 Filed 11/03/21 Page 1 of 1 Page ID #:204




                          UNITED STATES DISTRICT COURT                             JS-6
                         CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES – GENERAL

 Case No: SA CV 21-01106-DOC (JDEx)                           Date: November 3, 2021

 Title: Travelers Property Casualty Company of America v. First Mercury Insurance
 Company et al



 PRESENT: THE HONORABLE DAVID O. CARTER, JUDGE

               Deborah Lewman                                  Not Present
               Courtroom Clerk                                Court Reporter

       ATTORNEYS PRESENT FOR                         ATTORNEYS PRESENT FOR
             PLAINTIFF:                                   DEFENDANT:
            None Present                                   None Present



        PROCEEDINGS (IN CHAMBERS): ORDER DISMISSING CIVIL CASE

         The Court, having been notified by counsel for the parties that this action has been
 settled re Notice of Settlement [22], hereby orders this action DISMISSED without
 prejudice. The Court hereby orders all proceedings in the case VACATED and taken off
 calendar. The Court retains jurisdiction for thirty (30) days to vacate this order and
 reopen the action upon showing of good cause that the settlement has not been
 consummated.

        The Clerk shall serve this minute order on the parties.




  MINUTES FORM 11
  CIVIL-GEN
                                                                   Initials of Deputy Clerk: djl
